Case 1:21-cr-00208-APM Document 18-1 Filed 05/11/21 Page 1 of 4

JAMES E. MONROE, ESQ.

DUPEE & MONROE, P.C.

211 Main St., P.O. Box 470

Goshen, New York 10924

Attorneys for Defendant Thomas Webster
Our File # 21020CR

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA, : Case No. 1:21-CR-208
Plaintiff, : AFFIDAVIT IN SUPPORT
Vv. |
THOMAS WEBSTER,
Defendant.

COUNTY OF ORANGE _ )

JAMES E. MONROE, ESQ., being duly sworn, deposes and says:

1. I am a principal of the law firm of Dupee & Monroe, P.C. and have the privilege

of representing the defendant, Thomas Webster, in the above-entitled action. I am familiar with

the facts and circumstances in this action.

2. This affidavit is respectfully submitted in support of defendant’s Motion to hold

Non-Parties Lieutenant Richard Mantellino and the New York City Police Department in

contempt of a federal subpoena.

3, These criminal proceedings stem from the alleged actions taken by the defendant

at the United States Capitol Building on January 6, 2021.
Case 1:21-cr-00208-APM Document 18-1 Filed 05/11/21 Page 2 of 4

4. Prior to the date of this incident, Mr. Webster had an impeccable record as both a
United States Marine and as a New York City Police Department Officer. Mr. Webster was
sworn in as a police officer in 1991, and he retired in 2011. As a product of Mr. Webster’s
distinguished service, toward the end of defendant’s career, he was afforded the privilege of
being assigned to then-Mayor Michael Bloomberg’s private security detail.

5. Defendant intends to submit relevant portions of his NYPD records to this Court
in connection with his appeal of the denial of bail/bond to establish that defendant does not pose
a danger to the community if released by this Court. Knowing full well that such records are
indispensable to defendant’s appeal, our office requested that a subpoena to the New York City
Police Department and Lieutenant Richard Mantellino for his NYPD personnel records be So
Ordered by this Court. Your Honor, the Honorable Amit P. Mehta, graciously So Ordered this
subpoena on April 12, 2021. Exhibit A

6. This So Ordered subpoena was personally served upon the New York City Police
Department by Robert Saladin on April 15, 2021. The Affidavit of Service to this effect is
attached hereto as Exhibit “B.”

7. The subpoena commanded that Lieutenant Richard Mantellino and the New York
City Police Department provide Mr. Webster’s NYPD personnel records to the office of
defendant’s counsel on or before April 30, 2021. Exhibit A

8. Having not received any records as of May 4, 2021, my office called the New
York City Police Department and was directed to speak with Investigator Tracey Davis, who had
been assigned the task of completing Mr. Webster’s records request that was the subject of the

subpoena. On that date, Investigator Davis stated that she needed until Friday to obtain Mr.
Case 1:21-cr-00208-APM Document 18-1 Filed 05/11/21 Page 3 of 4

Webster’s personnel records and to contact her on May 7, 2021 to ensure that the same had been
done.

9. On May 7, 2021, my office again called Investigator Davis, who stated that she
did not have Mr. Webster’s personnel records on her desk and that she hoped that they would be
provided to her at some point. Clearly, the New York City Police Department and Lieutenant
Richard Mantellino’s records requests department feel no sense of urgency to respond to a So
Ordered federal subpoena signed by this Court.

10. Federal Rule of Criminal Procedure 17(g) states that “[t]he court may hold in
contempt a witness who, without adequate excuse, disobeys a subpoena issued by a federal court
in that district.”

11. Your deponent respectfully suggests that Lieutenant Richard Mantellino and the
New York City Police Department have no adequate excuse for their failure to comply with the
subpoena signed and So Ordered by this Court, and thus they should be held in contempt and
treated accordingly. See, Nilva v. U.S.,77 8. Ct. 431, 437-38 (1957).

12. No prior request for the relief requested herein has been made before this or
before any other court.

WHEREFORE, the defendant respectfully requests that this Court grant their motion
holding Non-Parties Lieutenant Richard Mantellino and the New York City Police Department in

contempt of a federal subpoena.
Case 1:21-cr-00208-APM Document 18-1 Filed 05/11/21 Page 4 of 4

Dated: Goshen, New York
May 11, 2021

 
 

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Email: info@dupeemonroelaw.com
Sworn to before me on this

\_ day of May, 2021.

   
    

NOTARY PUBLIC

HEATHER WOODRUFF
Notary Public, State of New York
No. 01WO4769888

Qualifiec in Orange County
Commicsion Expires March 36, DOD

   
